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                         UNITED STATES COURT OF APPEALS
                             FORTHE TENTH CIRCTIIT


                                     BRIEF IN CHTEF



       Appeal Number      20-2078

        Case Number       Everhart, et al. v. CYFD, United States District Court,
                          State of NM, Honorable Robert BracVHonorable
                          Carmen Garza No. C:17-CV-01134-RB-CG

    Parties filing        Everhart
   Notice of Appeal
     Respondent           CYFD, et al

        All prior or      NONE
       related appeals
        in this Court.



  FOR THE APPELLA]TIT:                         FORTHE APPELLEE:

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  REASONS FOR ORAL ARGUMENT; The issues are complicated. The
  issues have continued over a ten vear period. The Brief contains issues of
  Motion Preclusion. Motion for Summary Judgment and Constitutional issues
  involving family relationships.


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                             PRELIMINARY STATEMENT
             This Appeal is from the Order Adopting Chief Magistrate Judge's Proposed

   Findings and Recommended Disposition (Doc # 154), entered by The Honorable

   Carmen E. Garza, Chief United States Magistrate Judge. The Order Adopting the

  Findings of Fact and Recommendations (Doc # l6l) was filed March 10, 2020 by

   Senior Judge Robert Brack, for the United States District Court of New Mexico.

  (app#17,#20) Plaintiffs Donna and Harley Everharts' Answer and Objection to

  Proposed Findings and Recommended Disposition (the Objection), (Doc. #157)

  (app.# 18) was filed April 1, 2020, and Defendants New Mexico Children Youth

  and Family Services (CYFD), Dana Becker, and Evgenia Valderaz's Response to

  Plaintffi' Objection to Proposed Findings and Recommendations Disposition (Doc

  #l 58) (app.#19) (the Response), was filed April 15 ,2020. In the PFRD, Jvdge Garza

  recommended the Everharts (Motionfor Issue Preclusion, Doc. #132) (app.# 9) be

  denied, and Defendants' (Motion for Summary Judgment and Memorandum in

  Support, Doc. #144)(app.#12) be grarfied. In support of her recommendation that the

  Everharts' Motion for Issue Preclusion (Doc # I 3 2) (app. #9/ be denied, Judge Garza

  explained that the Everharts' failed to show the underlying "issue was necessarily

  determined" and "the Parties in the current action are not the same or were in privity

  with the Parties in the prior action." (Doc. #132.) (app.#9) Similarly, Judge Garza

  recommended dismissal of Everharts first three arguments against summary


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  judgment: Application of Rooker-Feldman Doctrine, claim preclusion, and issue

  preclusion, because "the state court litigation that the Everharts rely on has not

  achieved a final judgment." Judge Garza recommended that both the individual

  Defendants and CYFD be awarded sunmary judgment. The Everhats timely

  objected to the Chief Magistrate Judge's PFRD. Judge Carmen Garza, Federal

  Magistrate Court Judge, recommended a Disposition Denying the Motion for

  Preclusion filed by the Everharts. (Doc. #l 54, I 3Q@pp.#L7) Judge Carmen Garza,

  Federal Magistrate Court Judge, recommended Summary Judgment be granted to

  the Appellees (Defendants). Judge Robert Brack, entered his Order Adopting Chief

  Magistrate Judge's Proposed Findings and Recommended Disposition, or on about

  June 10, 2020. (Doc #161) (app.# 20)


                          STATEMENT OF THE ISSUES


     I.    Motion for Issue Preclusion should have been granted for Judicial

           Economy as Facts of the case had already been established. (Motionfor

           Issue Preclusion, Doc # 132, n 15 - A-aaaa) (Memorandum in Support,

           Doc#146)(Ex. A-B)(Fifth Judicial District Courts Findings of Fact and

           Conclusions of Law)(Ex. A)(Court of Appeals Decision #1) (Exhibit

           B)(app#9, #13)




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         Qualified Immunity, should not have been granted to DANA BECKER,

         because her conduct clearly violated established Law or Constitutional Rights.

         (Motionfor Issue Preclusion) (Doc #132, P. 15, (A-aaaa, and speci/ically)

         (H, O, R, S, V, X, Y, aa, bb, cc, dd, ee, ff, gg, hh-aaaa) (app #9)

         The Constitutional Rights of Familiar Association was clearly a Constitutional

         Right of the Everharts. *(Docketing Statement Doc. #010110367889, filed

         date06/29/2020).

  ry.    The Right to Procedural Process, and Substantive Due Process of the

         Everharts and their Children, was violated, from July 22,201 0, and continuing

         through the present date. *(Docketing Statement Doc. #010110367889, filed

         date 06/29/2020).

        STATEMENT OF THE CASE AND STATEMENT OF THE FACTS

         The Respondents-Appellants, Harley Everhart, Sr., and Donna Everhart, were

  married on February 4, 1983. They have remained Husband and Wife. During their

  marriage they had three (3) Children, namely: S.E. BOY I., a male bom April 22,

  1992, S.E. BOY II., a male born August 13,2003 and S.E. GIRL, a female bom

  March 26, 2008. (Memorandum in Support, Doc.# 146) (Ex A) (Fifth Judicial

  District Ct. Findings of Facts and Conclusions of Lar,v) (Motionfor Issue Preclusion,

  Doc #132, f1l5 a-aaaa) (app#9, #14)



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                                            2010


            An Abuse and Neglect Complaint was filed on or about June I 5, 201 0 against

  the Plaintiffs, Donna J. Everhart and Harley Everhart Sr. The Everharts pled no

  contest to the allegations contained therein on or about August 3,2070, which stated

  they failed to supervise and abandoned their minor Children which allowed their

  oldest Child, S.E. BOY I., to sexually abuse S.E. BOY II. The Petition alleged that

  S.E. BOY II., and S.E. GIRL were abused Children who have suffered or are at risk

  of suffering serious harm because of the action or inaction of Donna and Harley

  Everhart, pursuant to { 32A-4-2 B)(l) NMSA 1978. The Petition alleged that S.E.

  BOY IL, and S.E. GIRL were neglected Children who were without proper parental

  care and control, or substance, education, medical or other care or control necessary

  for their well-being because of the faults or habits of Donna and Harley Everhart or

  the neglect or refusal of Donna and Harley Everhart, pursuant to $i2A-4-2G)(3)

  NMSA 1978. The Petition alleged that S.E. BOY II., and S.E GIRL were neglected

  Children who had been sexually abused when the Everharts knew or should have

  known about the abuse and failed to take reasonable steps to protect them from

  further harm, pursuant to $32A-4-2G)(3) NMSA 1978. On or about August 19,

  2010, the Honorable Gary L. Clingman entered an Order finding that S.E. BOY II.,

  and S.E. GIRL were abused and neglected Children as defined in $32A-a-28)(1).

  $32A-4-2(D(2) ard $32A-4-2(D(3) NMSA 1978, (Motion for Issue Preclusion,

  6li:..,
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  Doc.# 132, I l5 a-fl(Memorandum in Support, Doc. # 146, n fl-4, #1-38)(Fifth

  Judicial District Court's Findings of Fact and Conclusions of Law)(Ex. "A"), (app#

  9, #14) and transferred their custody to the Department for a period of up to two (2)

  years. The Everhans were never convicted of any criminal crime and were never

  accused as sexual offenders. The Children, Youth and Families Department through

  Dana Becker, Individually, and personally as the Supervisor over the Everharts and

  Children, Youth and Families Deparhnent, entered into a mediation and

  reunification agreement dated July 8, 2010, and filed with the Court on July 19,

  2010, for a reunification of the minor Children, S.E. BOY II., and S.E. GIRL with

  their parents. On or about August 3,2010 the Department filed with the Court a

  Family Treatment Plan. The Family Treatment Plan and Reunification Plan was

  adopted and incorporated into its Judgment against the Everharts (Motionfor Issue

  Preclusion, Doc #132., 11 15, G- K)(Memorandum in Support, Doc #146., n#8, #61-

  64)(Fifth Judicial District Court's Findings of Fact and Conclusions of Law)(Ex A)

  (app#9,#14) The Court's, Honorable Gary Clingman, Presiding, adopted the

  Department's Permanency Plan for Reunification for the family and held numerous

  judicial review hearings over the next year. On July 11, 2010 the Hobbs Police

  Department Officer's executed a search warrant on the Everharts'home to seize

  computers and computer related equipment. When the officers arrived to execute the

  warrant they found S.E. BOY I., present at that time. (Motionfor Issue Preclusion,


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  Doc #132., n 15, D (Memorandum in Support, Doc. #146, n #4., #30) (Fifih Judicial

  District Court's Findings of Fact and Conclusioru of Law)(Ex. "A")(app #9, #13)


  Prior to S.E. BOY I., being found at the residence, the Everharts had scheduled

  visitation with the minor Children at Family Time Service Center in Hobbs, Lea

  County, New Mexico, working their reunification plan with the Department. After

  the incident with S.E. BOY I., the Everharts have not ever had their Children in their

  physical possession even though there has been at least two (2) reunification plans

  in place by the Department and the Everharts. (Motion for Issue Preclusion, Doc

  fli2., n 15, H-N) (Memorandum in Support, Doc. # 146-l#4., #30) (FifthJudicial
  District Court's Findings of Fact and Conclusiow of Law)(Ex. "A") (app #9, #13)

                                      JULY 2011

  In May 2011, The Children, Youth and Families Department through its Supervisor,

  Dana Beckeq personally found that the Everharts had remedied their issues and it

  was safe for S.E. GIRL to retum home within three (3) months. The parents were

  granted unsupervised, overnight visitations with S.E. GIRL. The Children, Youth

  and Families Department through its Supervisor, Dana Becker, personally, indicated

  to the Court that within three (3) months from May 3,2011 the Children should

  return to the parents' home and it was in the best interest of the Children to be

  reunited with their parents. (Motion for Issue Preclusion, Doc #l 32., 1{ 15, O - S)


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  Memorandum in Support, Doc. # 146-n#70, #76, #78, #56) (app #9, #14) (Fifth

  Judicial District Court's Findings of Fact and Conclusions of Law) (Ex. A) (app #9,

  #I   4) On or about July 19, 2011,the Court received evidence from the Hobbs Police
  Department, Detective Dominquez, regarding evidence located on the white

  computer, taken from the Everharts'home that contained images of what appeared

  to be child pornography. On or about August I 6, 20ll , (Motion for Issue Preclusion,

  Doc #132., n 15, T-n (Memorandum in Support, Doc. # 146, 1[ #87-#93) (Fifth

  Judicial District Court's Findings of Fact and Conclusions of Law) (Ex. A) (app #9,

  #14) Thereafter Department changed the permanency plan from reunification to

  adoption. On or about July I 9, 20 1 1, by Judicial Order of Judge Gary L. Clingman,

  Presiding, the minor Children were removed from any, and all contact with the

  Everharts, as to S.E. GIRL. She has remained in foster care, and the Everharts have

  not seen her since July 17, 2011. As to S.E. BOY II., he has remained in treatment

  centers, and the Everharts, on a limited basis, have been able to see S.E. BOY II.

  On or about September 27,2011, the State of New Mexico filed a Petition for

  Termination against the Everharts, alleging that the Everharts could not be

  rehabilitated, and that the Everharts had not followed the Treatment Plan of the

  Department, and it was not in the best interest of the minor Children, to be reunified

  with the Everharts. (Motion for Issue Preclusion, Doc #l 32., n 15, I - X)

  (Memorandum in Support, Doc. # 146, n #91.) (Fifth Judicial District Courts


  9l .'.
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   Findings of Fact and Conclusions of Lmu) (Ex. A) (app #9, #1 4) Visitation with the

   minor Children was terminated upon the assumed facts, that there was child

   pomography upon the home computer of the Everharts, during the time of the abuse

   and neglect of the minor Children. Subsequent investigations of the allegations of

   child pomography on the home computer of the Everharts, were not substantiated

   by any personnel of the State ofNew Mexico or the Guardian Ad Litem for the minor

   Children, or the Hobbs Police Department, for the City of Hobbs, or any Federal

   agents. The Everharts, were not charged with any cime. (Memorandum in Support,

   Doc. # 1 46 P. #l 0, il 1, #30, #3 I ) (Ct. of Appeals Opinion #l ) (Ex B) (app #l 4) The

   State ofNew Mexico, through the Order ofJudge Gary L. Clingman, suspended any,

   and all Treatment Plans, with the Everharts, and no Treatment Plans have been

   worked through the State of New Mexico Children Youth & Families Department

  with the Everharts. (Motionfor Issue Preclusion, Doc #1 32., I 15, a-aaaa) (app #9)


                                            2012


  On or about January 3,2012 a termination hearing was set to go to trial; however,

  was continued by CYFD and the Department as the employees and Supervisor Dana

  Becker, had to attend a mandatory trainttg. (Motionfor Issue Preclusion, Doc # I i2,

  n il 5 - Y) ("pp #9) Motions for immediate contact by the Everharts were filed, on

  or about January 3,2012, after the State of New Mexico and Children Youth &

  Families Department, cancelled their Termination of Parental Rights hearing, with
  10 1;.:   .
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   consent of the Court. On or about March 2012, the Department filed a Family

   Treatment Plan toward reunification to require the Everharts to participate in

   individual therapy, sexual abuse awareness with a desired outcome being for the

   Everharts to maintain healthy and appropriate boundaries surrounding the issues and

   sexual abuse. (Motionfor Issue Preclusion, Doc # 132,l#15 cc) (Memorandum in

   Support, Doc # 146, V00) (Fifth Judicial District Courts Findings of Fact and

   Conclusions of Law) (Ex. A) (app #9, #14) Thereafter a periodic Judicial Review,

   was held on March 12,2012, by the Honorable William G.W. Shoobridge, Presiding.

   On March 18,2012, the Court entered an Order submitted by the Children, Youth

   and Families Departrnent, Dana Becker, Supervisor, and individually, that grounds

   do not exist for termination of parental rights because existing evidence is

   insufficient to meet the burden of proof. A Custody Order was entered on March

   27 , 2012, continuing the legal and physical custody over the minor Children to the


   Chiidren Youth & Families Department. (Memorandum in Support, Doc #146, l

   fl01, #102) (Ex. A) (FifthJudicial District Courts Findings of Fact and Conclusions

  of Law)(Ex. A) (app #13) A Petition for Termination was again reset to luly 23,

   2012, by the Honorable William G.W. Shoobridge, Presiding. Prior to the

  termination hearing, the Everharts, Attorneys filed a Motion for Summary

  Judgement, setting forth that the Petition for Termination should be dismissed, for

  the reason, that the State of New Mexico Children Youth & Families Department


  11 l   .l
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   had failed to work a Treatment PIan, rehabilitate and reunifr the Everharts with their

   minor Children. The Motion further stated that the State of New Mexico Children

   Youth & Families Department, could not prove by clear and convincing evidence,

   that termination was appropriate and that the Everharts had not completed a

   Treatment Plan. Again, on July 23, 2012, the Non-Jury Trial for Termination of

   Parental Rights was cancelled, due to non-availability of Dr. Will Parsons, a

   Psychologist appointed by the Court to testifr, in the termination proceeding.

   CYFD, Dana Becker, Supervisor, and Caseworker, had changed goals again.


   The Petition for Termination hearing was again set for September 13, and 14,2012.

   (Motion Issue Preclusion, Doc # 132) (Memorandum in Support, Doc. #146, f1#100

   - #104) (Fifih Judicial District Courts Findings of Facts and Conclusions of Law)

   (Ex A) (Court of Appeals Opinion #1, P. I -10)(Ex. B) (app #9, #14) A Stipulated

   Motion and Order for Continuance was granted by Honorable William G. W.

   Shoorbridge, Presiding, for the reason that the State of New Mexico Children Youth

  & Families Department, represented that they would again work a Treatment Plan

  with the Everharts. An adoptive placement was withdrawn by the State of New

  Mexico Children Youth & Families Department, over the minor Child, S.E. GIRL.

   (Memorandum in Support, Doc.#L46 1 #105, #108, #109, #1|})(Fifth Judicial

  District Courts Findings ofFact and Conclusions ofLav, )(Ex. A) (app #14)



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                                         2013


          From September 2012, to February 2013, none of the Parties made any

   movement on the case, On March 18, 2013, The Court entered an Order by

   agreement of Parties, Children, Youth, and Families Department and Dana Becker,

   individually, and personally, that Ted Woolridge, Therapist and Counselor, would

   be assigned as the family therapist with the goal of family reunification.
   (Memorandum in Support, Doc.#L46, nil10, #1 11, #1 l2) (Fifth Judicial District

   Courts Findings of Fact and Conclusions of Law) (Ex. A) (app #14) Ted Woolridge,

  Mental Health, Clinician, and Agent for the State of New Mexico Children Youth &

  Families Department, and Dana Becker, did nothing to reunifr the Family. On or

  about June 4,2013 the Everharts requested a hearing before the Court to require the

  Department to move forward with their reunification plan because they had not seen

  their Children, and Ted Woolridge had done nothing to reunify the family. (Motion

  for Issue Preclusion, Doc. il 32 nil5 dd- hh) (Memorandum in Support, Doc. #146,

  n fl 16) (Fifth Judicial District Courts Findings of Fact and Conclusions of Law)

  (Ex A) (app #9, # I 4) A review hearing was set on December 17, 2013 at which time

  the Court announced that the Everharts had complied with the recommendations of

  the treatment plan in effect. (Memorandum in Support, Doc. #146) (Fifth Judicial

  District Courts Findings of Fact and Conclusions of Law)(Ex. A) (app #13) The

  State of New Mexico Children Youth & Families Department, announced on

  13 I   i:"
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   December 17 , 2013, once again, that they were going to Jile an Amended Petition

  for Termination arid that reunification was not in the best interest of the minor
   Children, S.E. GIRL and S.E. BOY II. (Motionfor Issue Preclusion, Doc.# 132 l

   #15,   jj - ii) (Memorandum in Support, Doc. #146, P. #14 - #16)(Fifth Judicial
  District Courts Findings of Fact and Conclwions of Law)(Ex. A)(Court of Appeals

   Opinion # l)(Ex. B) (app #9, #14) The Everharts had regular therapy sessions with

   S.E. BOY II., throughout this time, but the Agency prevented them from seeing S.E.

  GIRL. A Permanency Hearing was held on December 17,2013, at which time the

  Court Ordered no more visitation with S.E. BOY II., stopped family therapy, and

  appointed a Rule 706 Expert. (Memorandum in Support, Doc#146, # 21[)(Fifth

  Judicial District Courts Findings of Fact and Conclusions of Law) (Ex. A) (app.

  #14) The Court appointed Dr. Mark Caplan, Psychiatrist, to perform psychological

  evaluations on the Everharts prior to a trial for termination. Thereafter, the

  Honorable William G.W. Shoobridge withdrew from the case, and the Honorable

  Raymond Romero was assigned to the case. (Motion for Issue Preclusion, Doc.

  il 32, n il 5 FFF - GGG) (Memorandum in Support, Doc. #146) (Ex. B)(Court of
  Appeals Decision #1, P. l4 - l6) (app #9, #14)

                                         2014


           From December 17, 2013, through December 8, 2074, there were no

  reunification plans or treatment plans worked by Dana Becker, at CYFD with the

  LAlt'.:a..
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   Everharts. Despite the court ordered Psych evaluation showing no remaining issues

   for the Everharts. The Psychiatrist, Dr. Marc A. Caplan, recommended reunification

   of S.E. GIRL with the Everharts. The Everharts did not see S.E. GIRL and S.E.

   BOY II., for one (1) whole year. The Honorable Raymond Romero, was assigned

   to the case on December 8,2014. CYFD had now found a new adoptive home for

   SE GIRL, despite Court-ordered psych evaluation, showing no remaining issues for

   the Everharts. The Court set a hearing on February 24 - 25, 2015, upon the

  Amended Motionfor Termination of Parental Rights. (Motionfor Issue Preclusion,

  Doc.#l 32, P.15 JJ - KK)(Memorandum in Support, Doc. #146)(Fifth Judicial

   District Courts Finding of Fact and Conclusions of Law, n il22 -#l2a)@x. A),

   (Court of Appeals Opinion # I, P. #13 - #15)(Ex.B)(app#9, #13, #14)


                                            2015


           The State of New Mexico Children Youth & Families Department filed an

  Amended Motion for Termination of Parental Rights, on or about January 15,2015.

  Trial was held on March25-26-27. (Motion.for Issue Preclusion, Doc.#L32,P. 15

  KK - LL) (app#9) The Trial Court terminated the parental rights of the Everharts

  over SE GIRL, on or about August 18,2015. (Motionfor Issue Preclusion, Doc.

  #132, P.l5 mm) (app #9) The Trial Court made Findings of Fact which were not

  disturbed by the Court of Appeals of the State of New Mexico. (Memorandum in

  Support, Doc # 146), (Fifth Judicial District Courts Findings of Fact and
  15   lr ,''   '
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   Conclusions of Law, n   fl - #166) (Ex. A ), by Honorable Ray Romero, (Court of
   Appeals Opinion # I.) (Ex. B)(app #14)


                                          2016


         The case was on Appeal with the Court ofAppeals and continued from August

   18, 2015, through June 8,2017, whenthe Court of Appeals reversedthe Termination

   of Parental Rights over S.E.GIRL. The Everharts had not seen their Children from

   August 18, 2015 through June 8,2017. The Trial Court made Findings ofFact which

   were not disturbed on Appeal except for the legal Conclusion that termination was

   not lawful. (Memorandum in Support, Doc #146)(Fifth Judicial District Courts

   Findings of Fact and Conclusions of Law) (Ex A), (Court of Appeals Opinion

   07/26/2017)(Ex. B) (app #t4)


                                           2017
   The Trial Court held that the Everharts did not abandon their Daughter S.E. GIRL.

   (Memorandum in Support, Doc#146) (Court of Appeals Opinion #1) (Ex. B) (app

   #14) The Court of Appeals overtumed the Termination and remanded the case to

   Trial Court for a Custody Determination as to what was in the best interest of the

   SE GIRL. (Memorandum in Support, Doc. #146) (Ex B) (Ct of Appeals # l.)

   @ppfla)




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                                             2018


              The District Court held a hearing and ordered that the custody of SE GIRL

   should remain with her foster parents, because the parent/child relationship had been

   destroyed, because of the lack of contact with the minor Child, SE GIRL, with the

   Everharts. The Court of Appeals held that the Everharts did not abandon their minor

   Children, S.E. BOY II. S.E. GIRI-. (Memorandum in Support, Doc#146)( Ex. B)

   (Court ofAppeals # l). (app #14)

                                             2019

             The Everharts appealed that decision to the (Court of Appeals, Decision #2),

   and the Court of Appeals held that what was in the best interest of the minor Child,

   S.E. GIRL, was to stay with the foster parents. (Memorandum in Support, Doc.

   #146) (Ct. of Appeals Decision#2 P.3.,12/27/2019)(Ex. B) (app #14) Atthepresent

  time, S,E. BOY II., is still in the legal and physical custody of CYFD, and legal

  proceedings are continuing in District Court. At the present time CYFD still has the

  legal and physical custody of the minor Child, S.E. GIRL, and she is in the custody

  of the foster parents, and CYFD plans to terminate the rights of the Everharts. Legal

  proceedings are continuing at the present time, in the Fifth Judicial District Court,

  and Judge Rayrnond Romero has retired. The Everharts filed their (Second Amended

  Complaint, Doc.#L09) (06/25, 2019)(app#7),inthe United States District Court for

  the District of New Mexico. The Everharts filed their (Motion for Issue Preclusion,

  t7 | I :,: ::   ',.
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   Doc#Lj2.), (app #9) against CYFD, and DANA BECKER, Supervisor, and

   Caseworker, because of the Undisturbed (Fifih Judicial District Courts Findings of

   Fact and Conclusions of Law), (Memorandum in Support)(Doc#laO @x.A - B)

   (Court of Appeals Decision #l),(Ex B)(Fifth Judicial District Courts, Findings of

   Fact and Conclusions of Law) (Ex. A) (app #14) The Motion for Issue Preclusion

   asks the Federal District Court for the State of New Mexico, to adopt the Undisturbed

  Fifth Judicial District Court of New Mexico Findings of Fact and Conclusions of

  Law and the Undisturbed Findings of Facts and Opinions in the New Mexico (Court

   of Appeals Decision #l).


                            LIST OF AUTHORITIES
   l.    p42USC 1983 P.22
         {32A-4-2 (B)0) NMSA 1978 P.5
         {32A-4-2 (E)(2) NMSA 1978 P.s
         {32A-4-2 G)(3) NMSA 1978 P.s

  2.     Anders on v. Creishton, 43 8 U.S. 63 5, 639 -640(1987 ); P. 2 3

         Callahan v. IJnited Gov't of Wvandotte Civ.806 F.3d 1022, 1027 (lOth Cir.
         2015); P.24

  4.     Casevv. W Las Yeeas Independent School District,473F.3d, P.23, 27

  5.     Graves vs. Thomas 450 F.3d l2l 5, 1218 ( 1 oth Cir. 2006) (NMSA 32 a-4-22
         (C) (1978 with Amendments) P.24

  6.     Grilfinv. Strong 893 F.2d 1544,1547 (1Oth Cir. 1993) P.23, 27

  7.     Holland v. Harrington, 268 F.3 d I 17 9, 11 86 (1 oth Cir. 200 I ) P. 2 5, 2 I



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   8.       Malikv. Arapahoe CounU of Social Services, 191 F3., 1306,CO, 1999
            P.24,26, 27, 29

   9.       Martinez v. lJphoIf.265 F.3d 1130, 1134, (loth Cir,200l) P.25

   10. Merrill L)nch Bus. Fin. Serts. v. Nudell, 363 F.3d 1072, 1074-15 (1Oth Cir.
            2004) P. t 9

   1   l.   P.J. ex rel. Jensen vs. Wagner 603 F. 3d I 182, I 193 (loth Cir.2010) p.20,
            )1 )7

   12. Park Lake Res. Ltd. Liab. Co. vs. [J.5. Dep't. of Agric.,378 F. 3d I 132.
             1135, (1}th Cir. 2004) P.17

   12. Parklane Hosiery Co., Inc. v. Shore.439 U.S. 322,329 (1979) P.18
   13. Pearsonvs. Callahan,555 U.S. 223,231 (2009) P.23
   14. Schwartz v. Booker (702F.3d 573, CO.) (1Oth Cir 2012) P.23
   15. Soillman v. Hildebrandt 873 P2nd 1377, 1385 P.24
   16. Stanlev vs. Gallegos 852 Fed 3d l2l0 12l I (10th Cir.2017) P.23
   17. Thomas v. Kaven. 765 F.3d 1183, 1195 (10th Cir. 2014) P.23, 24, 26, 27, 29
   18. Walton v. Gomez (estate o.f Booker) 745 Fd.3d., 405, 41 I 1Otb Cir. 2014
            P.23

   19. White v. Paubt 137 S. ct. 548,552 2017) P.23
   20. llilson vs. Herzog 2019 U.S. Dist. LEXIS 48429 (D. Utah February 27,
            2019) P.20, 2 t

  21. Zanev. Kramer 195 F. Sup. 3d,1243 (W.O. OK.) 2016 P.24, 26

                               SUMMARYOFARGUMENT

            The Everharts filed their Motion for Issue Preclusion, to include the material

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   facts and procedural history which should be adopted by this court. Attached hereto

   and made a part of this Brief in chief are the facts as found by the Fifth Judicial

   District Court on July 16rh,2015, (Memorandum in Support, Doc. #146) (Extll and

   the (Court of Appeals Decision #1.) (Ex. B) (opp #14) forthe State of New Mexico

   regarding the above, entitled case. After Appeal #1., the Coun of Appeals of the

   State of New Mexico remanded the case for a determination of what was in the best

   interest of S.E. GIRL, after overturning the judgment by the Fifth Judicial District

  Court fortermination of the parental rights of S.E. GIW, (Memorandum in Support,

  Doc. #146) (Court ofAppeals Decision No. 35064, 07/26/2017). (Ex B) (app #14)

  The facts set forth inthe (Motionfor Issue Preclusion,Doc.#132,f1 ll-a-aaaa) (app

  #9) are the facts that this Court and or a Jury in this case, should consider. (Motion

  for Preclusion, Document # 132,1[15 a-aaaa) (app #9) The Fifth Judicial District
  Court's Honorable Ray Romero, Presiding, made specific Findings of Fact and

  Conclusions of Law, as set forth, also, in the Motion for Preclusion, filed by the

  Everharts. The Court of Appeals in its Decision of July 26,2017, made no specific

  Conclusions of Law, with regard to the violation of due process, substantive due

  processes, and family relationships, guaranteed by the Constitution and chose not to

  address those issues (Memorandum in Support, Doc. #146, P. #2, #4, #5) (Court of

  Appeals Decision #l) (app #14) T\e issues as set forth in the Ptaintiffs' Amended

  Complaint were never addressed by the Fifth Judicial District Court, nor the Court


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   of Appeals for the State of New Mexico. The only issues addressed were what was

   in the best interests of the minor Child S.E. GIRL, after remanding and overtuming

   the termination of parental ights. (Memorandum in Support, Doc #146) (Ex. B)

   (Court of Appeals Decision #l) (app #14) ln the Court of Appeals Decision of

   December 27,2019, (Court of Appeals #2.) the Defendants concede that the Court

   recognized that the biological parents have fundamental rights but noted that the best

   interest ofthe Child takes precedence over those rights. The Court ofAppeals never

   decided the issues of due process, substantive due process, violation of familial

   Constitutional Rights by the Parents in its decision of December 27,2019

   (Memorandum in Support, Doc. #146) (Court of Appeals #2) (E*. D - G) (app fla)

   The Court ofAppeals has never addressed a violation ofthe Plaintiffs due process

   rights, substantive due process rights, or familial relationship Constitutional Rights,

   or statutory violations of Children Youth and Families Department, Supervisor Dana

   Becker. The United States District Court for the State of New Mexico has chosen

   to deny the Motion for Issue Preclusion and Granted a Motion for Summary

  Judgment without addressing the claims of the Everharts. (Doc #161) (app# 20)

   (Order of Honorable Robert Brock) (Order Adopting Report and Recommendations

   Disposition, Doc. #161, #154,(app#17, #20) Honorable Carmen Garza)




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                           ARGUMENT AND AUTHORITY

                                       t
                          MOTION FOR ISSUE PRECLUTION

         The Everharts agree that Congress expressly mandated a doctrine ofa Federal

   Court's Issue of Preclusion of valid States-court Judgments. (See Full Faith and

   Credit Act) (U.S.C. f 17i8.) The Everharts also agree that Res Judicata is a

   judicially created doctrine designed to relieve the Parties oftlle costs ofdefending

   multiple lawsuits, conserve judicial resources, and encourage reliance on

   adjudication by preventing inconsistent decisions. Park Lake Res. Ltd. Liab. Co. vs.

   U.S. Dep't. of Agric.,378 F. 3d, 1132, 1135, (10'h Cir. 2004). The Defendants

   Memorandum states that both issue preclusion and claim preclusion bar the

   Amended Complaint filed by the Everharts. The claim preclusion and issue

   preclusion can be a barrier to both sides ofany litigation. The Everharts agree that

   the State-District Court's July 16, 2015 Orders, are final judgments. (Memorandum

   in Support, Doc.#146) (Ex. A- B); (Fifrh Judicial District Courts Findings of Fact

   and Conclusions of Lan) (app #14) followed by New Mexico Court of Appeals,

   (Court of Appeals Decision #l), (bc..B,) Because the issue of claim preclusion

   applies to both litigants. The ruling by the Court of Appeals Decision No.#l.,

   precludes the Defendants from attacking Findings of Fact and Conclusions of Law,

   and the Opinion of the Court of Appeals, ovem.rling the termination of the Parties

  parental rights. The Everharts' agree that claim preclusion bars the Everharts and

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   the Defendants from claims that were raised and specifically rejected in the state-

   court action of August l8th, 2015. The claims of constitutional violations of due

   process, substantive due process, familial relationships, were never raised and were

   specifically not addressed by the Court of Appeals Decision #1, and the Court of

   Appeals Decision #2. The claim preclusion as espoused by the Defendants, does not

   bar the Everharts from proceeding with their Amended Complaint against the

   Defendants. As the Defendants state in their Memorandum, Issue Preclusion can be

   used either defensively or offensively. Both the offensive and defensive use

   situations prevent the party whom the estoppel is asserted against and has litigated

   and lost in an earlier action from litigating the facts again. Parklane Hosiery Co.,

  Inc. v. Shore,439 U.S. 322, 329 (1979). The Defendants do not set forth in their

   Memorandum that they were the loser in the Appeal in the Court of Appeals first

   decision, where the Court ovemrled the Fifth Judicial District Court, upon a

  judgment of termination of parental rights over the Everharts. (Memorandum in

  Support, Doc. #146) (Court of Appeak Decision #l) (Ex. B)(app #14) The

  Defendants are issue precluded from the Findings of Fact and Conclusions of Law,

  found by the Fifth Judicial District Court, in favor of the Everharts, and the Court of

  Appeals first decision, (Memorandum in Support, Doc. #146) (Ex. A - B) (app #14).

  The Findings of Fact made by the District Court and affrrmed by the Court of

  Appeals, precludes Defendants from litigating the facts ofwhether DANA BECKER


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   and C\rFD violated the Constitutional Rights of the Everharts, including but not

   limited to due process, substantive due process, and familial association.

   (Memorandum in Support, Doc. #146) (Ex.A - B) (app #14) The Fifth Judicial

   District courts j udgment was that there was a termination because the parents

   abandoned their minor Children, which was ovemrled by the Court of Appeals

   Decision #1. Furthermore, the Court of Appeals Decision unequivocally sets forth

   that the Plaintiffs did not abandon their minor Children and the disintegration of the

   parent child relationship was not because oftheir actions. The (Court ofAppeals

   Decision #1.), clearly refutes the Findings of Fact as filed by the Defendants in their

   (In Support of Motionfor Summary Judgment, Doc.# 145)(app#I I, #12) The (Court

   of Appeals Decision #l), clearly refutes that the Everharts watched pornography with

   their six (6) year old son and took pictures ofhim naked. (Memorandum in Support,

  Doc. #146) (Ex. B) (The Court of Appeals Decision #I .) (app #14) , clearly sets forth

  that the absence ofthe Parents from their Children caused the disintegration oftheir

  Parent / Child relationship. The Findings of Fact of the Fifth Judicial District Court,

  and the Court of Appeals Decision #1, clearly sets forth the conduct of Dana Becker,

  Individually and as a Supervisor and Caseworker for CYFD. (Memorandum in

  Support, Doc.#L46) (Ex. A* B) (app #14)

          THE ROOKER. FELDMAN DOCTRINE IS NOT APPLICABLE

          The Plaintiffs' agree that the Rooker-Feldman doctrine establishes, as a matter


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  of subject matter jurisdiction, that only the United States Supreme Court has the

  appellant authority to review States-court Decision. "Menill LWch Bus. Fin. Sems.

  v. Nudell,363 F.3d 1072, 1074-75 (1Oth Cir. 2004). The Everharts' also agree that

  the Rooker- Feldman doctrine prohibits federal suits that amount to appeals of the

  States-Court's judgments. The Everharts also agree that in applying the Rooker-

  Feldman doctrine, the Court focuses on whether the lower Federal Court if it

  adjudicated the Everharts claims would effectively act as an appellant Court

  reviewing the States-court disposition. Nudell.363 F. 3d at 1075. The Everharts

  also agree that the doctrine also precludes lower Federal Courts from eflectively

  exercising Appellant jurisdiction over claims actually decided by States-court and

  claims inextricably intertrvined with a prior States-court jtdgment. P.J. ex rel.

  Jensenvs. Wagner 603 F.3d 1182, 1193 (1Oth Cir.2010).

          "A claim is inextricably intertwined if the state-court judgment caused,
          actually and proximately, the injury for which the federal-court Plaintiff seeks
          redress."

  The Everharts' injuries were not caused by the State District Court's Judgment of

  Termination issued on August 18,2015. The Everharts' injuries were not caused by

  the Court of Appeals Decision #land #2, which remanded the Court to the State

  District-Court for a decision upon the custody of the minor Child, S.E. GIRL. The

  Everharts' are not appealing the decision of the Court of Appeals Decision #1.,

  (Memorandum in Support, Doc. #146) (Ex.B) (app #l 4) Tlte State Court (Court of


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   Appeals) overtumed a termination of their parental rights. The Everharts did not

   lose their Appeal, as The Court of Appeals for the State of New Mexico (See Court

   of Appeals, Decision#I, Doc. ila6)@x.B) (app #14),, overtumed the Fifth Judicial

   District Court's Judgment of Termination. To the contrary, the Everharts won that

   Appeal and the Court of Appeals remanded back to the Fifth Judicial District Court

   for a Custody Determination. The Everharts Complaint is not an Appeal of that

   Decision, by the Court of Appeals, or the Fifth Judicial District Court. The

   Defendants cite Wilsonvs. Herzos 2019 U.S. Dist. LEXIS 48429 (D. Utah February

   27,2019) for the authority that bars the Everharts' claims because the Everharts'

   injuries were caused by the States-Court Judgments removing the Child,S.E. GIRL,

   from her Parent's custody and terminating the Everharts familiar ights. The llilson

   supra. case is distinguishable from the case at bar. The Everharts in the above

   entitled case were never terminated of their paternal rights. Furthermore, prior to

   the termination decision, by the Fifth Judicial District Court, the Everharts' had been

   in the process of working two treatment plans with CYFD without visitation with

   their minor S.E. GIRL and S.E. BOY II., over a five (5) year period. Furthermore,

   the Court of Appeals Decision #1., and Court of Appeals Decision #2, didnot

   address the violations of Constitutional Rights suffered by the Everharts as a result

   of DANA BECKER'S actions and or CYFD, by not following the Statues of the

   State of New Mexico for reunification of the minor Children, S.E. GIRL and S.E.


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   BOY II., prior to the termination decision by the Fifth Judicial District Court.

   (Memorandum in Support, Doc.#146) (Ex. A * B) (app #14) T\e Court of Appeals

   Decision #1, Unequivocally sets forth that the disintegration of the parent child

   relationship was not caused by the Everharts, but by the long absence of the

   Children, S.E. GIRL and S.E. BOY, from the Everharts. (Memorandum in Support,

  Doc #146) (Court of Appeals Decision #l, P. #34 - #37) (Ex B) (app fla)

          "We are deeply troubled by the fact that all visitation, including, supervised
          visitation, with Daughter was revoked based on an allegation, and withheld
          for years while CYFD attempted to substantiate that allegation. What is even
          more troubling is the fact that this separation allowed Daughter to lose all
          memory of Respondents after years of no contact".

   CYFD then used the same lack of contact as the primary basis for asserting a

  disintegration of the parent-child relationship in order to terminate Respondents'

  parental rights because of abandonment. Respondents repeatedly petitioned the

  district court to allow visitation and even predicted that the lack of visitation could

  damage the parent-child relationship." (Memorandum in Support, Doc. # 146) (Ex.

  B) (Court of Appeak Decision #1) (app #14) The Defendants (CITD) wants this

  Court to focus on what occurred and decisions made by the Fifth Judicial District

  Court after the Court was ovemrled on the issue of termination when the case was

  remanded back to the Fifth Judicial District Court. (Motion in Summary Judgment,

  (Doc.# 144)(app #l 2). The violations of the Everharts' Constitutional Rights and

  the damage flowing from those violations occurred prior to the Judgment for


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   Termination of Parental Rights, and the Remand by the court ofAppeals. The issues

   of Constitutional violations are still outstanding as is set forth in the Plaintiff s

   Amended Complaint and have never been addressed by the Courts. (Memorandum

   in Support, Doc.#146) (Ex B) (app #14) The Rooker-Feldman doctrine is not

   applicable to the Plaintiffs' Amended Complaint because the State-Courts for the

   State of New Mexico did not adjudicate the Plaintiffs claims of a violation of due

   process, substantive due process, and violation ofa familial association. The facts

   and circumstances occurring after the Fifth Judicial District's Judgment of

   Termination of Parental Rights are not relevant as the Defendants and Dana Becker

   were placing S.E. GIRL for adoption as the ParenVChild Relationship had been

   destroyed. There is no State-Courts Judgment which was rendered against the

   Plaintiffs which they have appealed to the above entitled Court. The Court of

   Appeals Decision #l and#2, has not been appealed by either party. (Memorandum

   in Support, Doc. #146) (Ex. B -G) (app #14) Because the Issues ofPreclusion apply

   to both Parties, the Rulings by the Court of Appeals Decision #1, precludes the

   Defendants from attacking Findings of Fact and Conclusions of Law, and Opinion

   of the Court of Appeals ovemrling the termination of the Everharts parental rights.

   ($ee Parklane. supra at 329) The violation to the Everharts civil rights was prior to

  the Fifth Judicial District Courts hearing for termination of the Everharts parental

  rights on August 18, 2015.


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                                             u.
                                OUALIFIED IMMUITITY

           Individual Defendants are not entitled to Qualified Immunity as $ 42 USC

    1983 Authonzes suits against persons acting under color of state 1aw, for violations

   of rights granted by Federal Law. See Stanle.v vs. Gallesos 842 Fed 3d 1210 l21l

   (10'h Cir. 2017). The Everharts recognize the doctrine that the Defendants are not

   personally liable for every violation of such rights. However it also recognizes when

   there is a violation of Federal Law, Constitutional Rights, the unlawfulness of their

   actions if clearly established when they acted precludes them from qualified

   immunity. Pearson v. Callahan 555 U.,S. 223,231 (2009); Casev v. lT. Las Yepas

   Independent School District 473 F. 3d; (l}th Cir.) N.M. 2006; Ilhite v. Paullt I j7 S.

   Ct. 548, 552, (2017) The Everharts recognize the burden of carrying a two-part

   burden,

          "That the Defendants actions violated a Federal Constitution or statutory right,
          and if so, that the right was clearly established at the time of the Defendants
          unlawful conduct." Llalton vs. Gomez (Estate o.f Booker.) 745 Fed. 3d., 405
          411 (l}thcir. 2014)" (emphasis added).

   The actions of Dana Becker and CYFD violated a Federal Constitution or Statutory

   Right and those rights were clearly established at the time of the unlawful conduct

   by Dana Becker, Individually, which actions were prior to the termination of parental

   rights by Judge Ray Romero, of the Fifth Judicial District Court, County of Lea,


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   State of New Mexico. Anderson v. Creishton,483 L1.5.635,639-640(1987);

   Schwartz v. Booker (702 F.3d 573, CO.) (1}th Cir. 2012). The case of Thomas v.

   Kaven765 F. 3d 1 183 (2014) (lOth Cir. 2014) was decided by the United States Courr

   ofAppeals and held that "the governments forced separation ofparent from child,

   even for a short time, represents a serious impingement on the parent's rights to a

   familial association; that a parent must allege "intentional interference with this

  right, that is the Defendant must have directed conduct at the familial relationship

  with knowledge that the statements or conduct would adversely affect that
  relationship" PJ Exrel Jensen v. Wagner 603 F. 3d 1182, 1196-97 (100' Cir 2010).

   Thomas v Kaven goes on to state that the family association right is grounded in

  substantive due process, arising from allegations of abusive govemment authority.

  Griffin v. Strons 983 F. 2d 1544,1547 (101h Cir. 1993). Prior to the Judgment of the

  District Court (Later overtumed by the Court of Appeals Decision #l)

  (Memorandum in Support, Doc. #146) (Ex B) (app #l 4), termiration of the parental

  rights S.E. GIRL, the familial relationship through substantive due process was

  recognized by the lOh Cir. (pursuant to Thomas v. Kaven 765 F. 3d 1183 (2014),

  Malikv. Arapahoe Countv of Social Services. 191 F3, 1306, CO, 1999, (Ct. of App

  l}'h Cir. 1999); Zane v. Kramer 195 F. Supp. 3d, 124i (W.O. OK.) 2016. Malik.

  supra also recognized the constitutional claims of depravation of rights to familial

  association, privacy, counsel, freedom from unlawful searches and seizures and due


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   process and conspiracy to deprive the people ofthose rights by outrageous conduct.

   Gravesv. Thomas 450F.3d 1215, 1218 QUh Cir.2006) (NMSA32 A-4-22 (C) (1975

   with Amendments) Therefore, at the time of the conduct of CYFD and Dana Becker,

   Individually, there were clearly established rights under the Constitution for

   violations of the Familiar and Constitutional Rights of the Everharts and their

   Children. ln both, ofthe cases cited by the Plaintiffs above, (Thomas, Supra);
   (Malik, Supra) there was an unreasonable withholding of minor Children, by a

   govemmental entity, that interfered with the familial association of legal due

   process, and substantive due process of the Parents. Spillman v. Hilldebrand, 873

   F.2d 1 377, I 385. T\e Everharts, by and through the above entitled cited cases have

   proven there Two-Part Burden where there was a Constitutional or Statutory Right

   being in existence and a right being clearly established at the time that Dana Becker,

   Individually, violated Statutory and Constitutional Rights of the Everharts

   (Memorandum in Support, Doc#|46) (Ex. E) (Deposition of Dana Becker Pages 40-

   54 December 51h,2079 in the above entitled case) (app #14). Callahan v. United

   Gov't of W)tandotte Civ.806 F. 3d 1022, 1027(10th Cir. 2015) (intemal citations

   omitted). Dana Becker and CYFD are not entitled to summary judgment and or

   qualified immunity as the material facts as set forth in the Defendants, Undisputed

  Facts and the facts as set forth in the Motion for Issue Preclusion show that Dana

  Becker knew of the Constitutional Rights of the Everharts and still withheld the


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   Children from them until the Termination Hearing in 2015, and continuing for over

   a period of over five (5) years. (Memorandum in Support, Doc. #146) (Ex.E) (app


   #14) The Deposition of Dana Becker taken on December 5, 2019, Pages 40 through

   54, (Memorandum in Support, Doc.#|46)(Ex. E) ("pp #14). The facts of the above

   entitled case, show Dana Becker, knew that there was a clearly established right and

   she knew that a reasonable person in her position, and her conduct thereto, was

  unlaudrl, in the light of the situation which she was confronted with. Holland vs.

  Harrinston,26S F. 3d 1179, 1186 (l}th Cir. 2001). With regards to the claims

  against CYFD being dismissed for failure to establish a policy or custom which

  caused the Everharts injuries, the Defendants admitted the facts as set forth in the

  Motion for Issue Preclusion, and those facts show that the action by CYFD were the

  results of deliberate indifference over a five (5) year period oftime, until termination

  in August of 2015. (Motionfor Summary Judgment, Doc #144) (app #12) CYFD

  should not be dismissed, as the official policy or custom over the five (5) year period

  of withholding the Everhart Children from the Parents shows that the govemment's

  inactionwasaresultof deliberateindifference. Martinezv. Uphqff,265 F.3d 1130,

  I134, (1}th Cir, 2001). With regard to the Everharts lack of standing for S.E. BOY

  II., and S.E. GIRL, the Everhart's are not suing the Departrnent in the above entitled

  case for a retum of their minor Children, but are suing for a violation of their

  Constitutional Rights and the minor Children's Constitutional Rights, that being the


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   Right to a Familial Relationship, Due Process Rights, Substantive Due process

   Rights, by the Department. The Children's rights are not adverse, to the parents, as

   they also enjoy the same rights the Parents have under the Constitution. The conflict

   or adversity of the Children's rights verses the Parents Rights are only when the

   Department sets forth that there has been an abuse or neglect by the Parents over

   their minor Children. The Amended Complaint does not allege a pending abuse and

   neglect Petition, except the one pending in the State Court which was adjudicated.

                                           IIL
           CONSTITUTIONAL RIGHT OF FAMILIAR ASSOCIATION

         The Everharts also filed in their Amended Complaint, a Right to a Family

   Association, which is clearly an established Constitutional Right, pursuant to

   Thomasvs. Kaven 765 Fed3d, 1183 (2014) Malickvs. ArapahoeCounqtandSocial

   Services 191 Fed3d, 1306CO, 1999, Zanevs.Kramer 195FedSup3d, 1243(W.O.

   OK) 2016. The United States Court of Appeals 1Oth Circuit has recognized the right

   of a Family Association as being a Constitutional Right, pursuant to the 14e
  Amendment Substantive Due Process clatse. Thomas vs. Kaven, supra; Malick vs.

  Arapahoe Counttt and Social Services: supra. The Everharts did not ask for relief

   for the retum of their minor Children, S.E. BOY II., and S.E. GIRL, in the present

  case. The Plaintiffs' have also frled their Motion for Issue Preclusion in the United

  States District Court for the District of New Mexico for the purpose of proving the

  essential and material facts that Dana Becker, tndividually and as a supervisor for

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   CYFD violated the Everharts' right to a family association. (Amended Complaint,

   Doc.# 109) (app #7) The New Mexico Court of Appeals in its decision of June 8'h,

   2017, andan Opinion date ofJuly 26,2017, did not address the issues ofdue process,

   substantive due process, familial violation, or any violations of the New Mexico

   Constitution orthe United States Constitution. (Memorandum in Support, Doc #146)

   (Ex. B) ; (Court of Appeals Decision #1 , P.#l 8) (app #l 4) Prior to the termination of

   parental rights by Judge Ray Romero, ofthe Fifth Judicial District Court, County of

   Lea, State of New Mexico, the case of Thomas v. Kaven 765 Fd. 3, I l8i (2014) was

   decided by the United States Court of Appeals and held:

         "Govemments separating a paxent from child even for a short time, represents
         a serious impingement on the Parents rights to a familiar association; and a
         parent must allege; intentional interference with this right, that is the
         Defendant must have known its conduct would adversely affect that
         relationship." PJ ex. rel. Jensen v. t|/asner, 603 Fd. 3, 1182. t196-97 (l}th
         Cir. Ct 2010).
  ln Thomas v. Kaven. supra., andir Grifrn vs. Strong 983 F.d 2., 1544. 1547 (l}th

  Cir. Ct.l993\ The cases state that a familiar association right is grounded in

  substantive due process arising from allegations of govemment authority. Malik vs.

  Arapahoe Counry, Department of Social Services (191 Fed.3. 1306. CO.). decided

  by the 1Oth Cir. Ct. on September 14,1999, also recognized the Constitutional claims,

  deprivation of rights to a familiar association, privacy, counsel and freedom from

  unlawful searches and seizures and due process of law. Clearly the Constitutional

  Right of Familiar Association was clearly a Constitutional Right recognized by the

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   State of New Mexico and Dana Becker, Individually, and Supervisor for CyFD

   between June 20 I 0 through August I 8, 201 5. (Memorandum in Support, Doc.# t 46)

   (Ex. A, B, E) (Fifth Judicial District Courts Findings of Fact and Conclusions of

   Law)(Ex. A)(Court of Appeals Decision #1) (app #14) (See Deposition of Dana

  Becker, P. 40 * 54, December 5, 2019). Dana Becker knew that there was clearly a

   Constitutional Right and she knew that a reasonable person in her position and the

   conduct thereto was unlawful in light of the situation, she was confronted with. (See

   Casqt v. W. Las Yegas Independent Schools District.473 F.3d) Both the Court of

  Appeals and the State District Court opined that the parent child relationship

  between the Everharts and the minor Children had disintegrated, and was not in

  existence because of the lack of contact with the minor Child S.E. GIRL and the

  Everharts. (Memorandum in Support, Doc. # 146) (Ex G) (P. 34 - 37) (app #14)


                                           ry.
                      THE RIGHT TO PROCEDURAL
               DUE PROCESS AND SUBSTANTTVE DUE PROCESS

         The Motion for Issue Preclusion, setting forth the Fifth Judicial District's

  Court's Findings of Fact and Conclusions of Law, were not disturbed upon by the

  Court of Appeals for the State of New Mexico. The Everharts have shown (Motion

  for Issue Preclusion, Doc.#l 32), (Memorandum in Support, Doc.#146), (app#9,
  #14) and the Deposition of Dana Becker. (Memorandum in Support, Doc. #146)

  (Ex G) (app #14), rneqivocally that there was a violation of the Procedural Due

  35 1i.,r',
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   Process and Substantive Due Process of the Civil Rights of the Everharts and their

   minor Children. The (Deposition of Dana Becker, taken on December 5, 2019,

   Pages 40-54), shows that she knew that there was a clearly established right and she

   knew that a reasonable person in her position and the conduct thereto was unlawful

   in light of the situation, which she was confronted tirth. Holland vs. Harrineton,

   268 F. 3d 1179, 1186 (1Ofr Cir. 2001). (Memorandum in Support, Doc.#146) (Ex.

   E) (app #14) (Deposition of Dana Becker, P.44-4D The Court of Appeals reversed

   the order of tennination on the basis of abandonment because the District Court

   failed to enter any Findings ofFact or Conclusions oflaw regarding the Everharts

   causing the disintegration of their relationship with S.E. GIRL, which was an

   essential element of termination by abandonment, (Memorandum in Support,

  Doc.#146, P.5l)@x.B)(app#14) Court of Appeak Decision #1, reached the

   conclusion that there was no evidence the Everharts "caused the delays that

  undoubtedly contributed to the disintegration of the parenlchild relationship with

   [S.E. GIRL]." The Court of Appeals primarily faulted CYFD for disintegration of

  the relationship. (Memorandum in Support, Doc.#146) (Ex. B) (Court of Appeals

  P.58-59) (app #14). Additionally, the Court of Appeals noted that n2013 the Court

  appointed Mediator, Mr. Ted Woodridge, '\vho completely failed to address

  visitation and contact" with S.E. GIRL. The Court of Appeals opined that there was

  no evidence in the record that visitation with S.E. GIRL was withheld because the


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   Everharts acted improperly. The Court of Appeals was also troubled by CyFD,s

   lack of clarity on what was required with respect to the Everharts treatment therapy.

  Notwithstanding which party caused the disintegration of the parent-child

  relationship, the Court of Appeals remanded the case back to the Fifth Judicial

  District Court to determine custody of S.E. GIRL based on her best interests, as she

  had no memory of the Everharts as her Parents. The Everharts continued to have

  parental rights over S.E. BOY II., who could retum home in the future.

  (Memorandum in Support, Doc- #146) @t B) (Court of Appeals Decision #1, P. 62-

  70) (app #Ia)


                                    CONCLUSION

         Summary Judgment should not be granted on behalf ofthe Defendants. There

  was a clear violation of the Constitutional Rights of the Everhart's and their minor

  Children. Kaven supra., wrd Arapahoe Countv Supra. The Defendants axe not

  entitled to Qualified Immunity or Summary Judgment because the facts as set forth

  in the Plaintiffs Everharts undisputed facts in (Motionfor Issue Preclusion) (app#g)

  frled by the Plaintiffs, and as facts set forth, in the Defendants' undisputed facts

  (Motion for Summary Judgment)(app# l2), is not appropriate. Furthermore, the

  testimony and Deposition of Dana Becker unequivocally shows that she

  Individually, and CYFD as a whole, violated the Civil Rights of the Everharts and

  the minor Children through their procedural chaos, prior to the Judgment of

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  Termination by the State Court, and overtumed by the State Court of Appeals #1,

  (Memorandum in Support, Doc. #146) (Court of Appeals Decision #l) (Ex. B) (app

  #14). Fwthermore, the Motion for Issue Preclusion and facts as set forth therein

  prior to August 18, 2015, should be confirmed and adopted by the District Court and

  should not be allowed to be controverted at the time of trial by the Defendants. The

  acts of Dana Becker and CYFD show that there was a Constitutional Violation of

  the Everharts and their Childrens', Familial Rights.

                                 ORALARGUMENT

   The Everharts request an oral argument before the 1Oth Circuit Court of Appeals.




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                               UNITED STATE COURT OF APPEALS
                                   FOR THE TENTH CIRCUIT

  EVERHART, et. al,

                    Appellant,

  v.                                         No.20-2078

  CYFD,


                    Appellee.




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  The Brief in Chief*,


  to:

  _Bryan Evans , at PO box 700, Roswell NM 88202-0700- and
  bevans@atwoodmalone.com




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                      UNITED STATES COURT OF APPEALS
                           FOR THE TENTH CIRCUIT

   Everhart,

                Appellant,

                                                No.20-2078

   CYFD,

               Appellee,




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                          UNITED STATES COURT OFAPPEALS
                                   FOR THE TENTH CIRCUIT


   EVERHART et.al,
                  Appellant,


   Vs.                                              No.20-2078


   CYFD,
                  Appellee,


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